cR»v.élss) .
Case 2:03-cr-20347-.]DB Document 2 Fl|ed 07/22/05 Page 1 of 5 Page|D 2

UNITED STATES DISTRICT COURT
HLED BV __ D_c_

for

05 JUL 22 AH 62 38

name .
usa us slin(§ilc%im

W z ""\: '-
U.S.A. vs. Samuel Green DoekeMi'iOW$M

WESTERN DISTRICT OF TENNESSEE

Petition on Probation and Supervised Release

COMES NOW Dawn L. Brown PROBATION OFFICER OF 'l`I-IE COURT presenting an official
report upon the conduct and attitude of Samuel Green who was placed on supervision by the Honorable Neal B.
Biggers, Jr. sitting in the Court at OxfoL Ms, on the §§ day of March, 1221_, who fixed the period of supervision
at five (5) years*, and imposed the general terms and conditions theretofore adopted by the Court and also imposed
special conditions and terms as follows:

 

l. The defendant shall provide the Probation Officer with access to any requested financial information

2. The defendant shall not incur new credit or open additional lines of credit without the approval of the
Probation Officer unless the defendant is in compliance with the installment payment schedule

3 . The defendant shall participate in a program of testing and treatment for substance abuse, as directed by the
Probation Officer, until such time as the defendant is released from the program by the Probation Ofiicer.

4. The defendant shall pay restitution on the amount of $816.37. (Paid In Full).

* Term of Supervised Reiease Began: Mareh 7, 2003.
Jurisdiction transferred from the ND/MS (Oxford)to the WD/TN (Memphis) on October 1, 2003.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
SEE AT'I`ACHED

PRAYING THAT THE COURT WILL ORDER a SUMMONS be issued for Samuel Green to appear before
the Court to answer charges of violation of Supervised Release.

  

 

 
       

 

 

ORDER OF COURT
I declare under penalty of perjury that the
f q_\, foregoing is true and correct.
..dered and ordered thisz_{_ day
2005f , and ordered filed Exccut
part of the records in the above on
c
nit States Probation cer

U@tates District Judge \ PIace: Memnhis. TN

This document entered on the docket sh at ln compliance
with Ru|e 55 and/or 32(b) FHCrP on 2 hng 125 n

 

Case 2:03-cr-20347#-.]DB Document 2 Filed 07/22/05 Page 2 of 5 Page|D 3

RE: Samuel Green
I)ocket No: 2:03CR20347
Probation Form 12
Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

TIIE DEFENDANT HAS VIOLATED TI'IE FOLLOWING CONDITION OF H_IS SUPERVISED RELEASE:

While on Supervised Release, the defendant shall not commit another Federal, state or local crime.

On January 23, 2005, Samuel Green was charged by the Memphis Police Department with the following: Reckless
Driving, Public lntoxication, Driving Under the Influence of Intoxicant/Drugs, Leaving the Scene of an Accident
Involving Injury, Violation of Financial Law and Violation of Vehicle Registration Law. According to the
Misdemeanor Citation, Mr. Green struck a vehicle from the rear causing it to overtum. Mr. Green exited his vehicle,
looked at the victims in the other vehicle where they cried for help and fled into a wooded area. Mr. Green was
apprehended by Memphis Police a short time later where he was observed to have a strong odor of intoxicants,
blood shot eyes, slurred speech, delayed reactions and required assistance to stand and walk. Mr. Green was
transported to the Regional Medical Center at Memphis in non-critical condition. Mr. Green is scheduled to appear
before the Shelby County General Session Court, Division l l on July 21 2005.

Case 2:03-cr-20347=.]DB Document 2 Filed 07/22/05 Page 3 of 5 Page|D 4

 

 

 

 

 

 

 

 

VIOLATION WORKSI'IEE'I`
l. Defendant Samuel Green, (2859 Tree Brook Way Memphis, 'I'N 381 19)
2. Docket Number (Year-Sequence-Defendant No.) 2:03CR20347
3. District/Office Western District of Tennessee (Memphis)
4. Original Sentence 03 /Q§_ l 1997
Date month day year
(If different than above):
5. Original District/Office Northem District ofMississippi
6. Original Docket Number (Year-Sequence-Defendant No.) 3:96CR00127-001
7. List each violation and determine the applicable grade {Yg §7B1.l}:
Violation§sl Grade
0 New Criminal Conduct: DU[, Reckless Driving, Public Intoxication, Leaving the Scene of an Accident C
lnvolving lnjury, Violation of Financiai Law , Violation of Vehicle Registration Law
o
%
8. Most Serious Grade ofViolation w §7Bl.1(b)) C
9. Criminal History Category (Le§ §7B1.4(a))74 IV
10. Range of imprisonment (§§§ §7B1.4(a)} 6 - 12 months

 

 

 

Statutory Maximum: 36 months.
ll. Sentencing Options for Grade B and C Violations Only (Check the appropriate box);

{x } (a)lf the minimum term of imprisonment determined under §7B1.4 (Term of Impn`sooment) is at least one month but not
more than six months, §7Bl.3(c)(l) provides sentencing options to imprisonment

{ } (b)Ifthe minimum term of imprisonment determined under §7B1.4 (Tenn of lmprisonment) is more than six months but
not more than ten months, §7B I .3(c)(2) provides sentencing options to imprisonment

{ } (c)lf the minimum term of imprisonment determined under §7B1.4 ('I`erm of Imprisonment) is more than ten months, no
sentencing options to imprisonment are available

Case 2:03-cr-20347“-'.]DB Document 2 Filed 07/22/05 Page 4 of 5 Page|D 5

Defendant Samuel Green
12. Unsatisfied Conditions of Original Sentence

List any restitution, tine, community continement, horne detention, or intermittent conjinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {B §7Bl .3(d)}:

 

 

 

Restitution ($) N/A Community Confinement N/A
Fine ($) N/A Home Detention N/A
Other N/A lntermittent Continement N/A

 

13. Supervised Release

If probation is to be revoked, determine the Iength, if any, of the term of supervised release according to the provisions of §§SDl .1-
l.S{B §§7Bl.3(g){1}}.

Term: to years
lf supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible
upon revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release

from imprisonment {_sg 18 U.S.C. §3583(e) and §7B1.3(g)(2)}.

Period of supervised release to be served following release from imprisonment

 

14. Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

15. Ol’ficial Detention Adjusunent {_sg §7B1.3(e)}: months days

Mail documents to: United States Sentencing Colmission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention; Monitoring Unit`

ISTRIC COURT - WESTERN DSRTCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:03-CR-20347 was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

